Case 8:03-cr-00077-CEH-LSG Document 1290 Filed 08/16/05 Page 1 of 2 PageID 11563




                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION


  UNITED STATES OF AMERICA,

         Plaintiff(s),

  v.                                                    CASE NO: 8:03-CR-77-T-30TBM

  SAMI AMIN AL-ARIAN, et al.,

        Defendant(s).
  ____________________________________/

                                               ORDER

         THIS CAUSE comes before the Court upon Defendant Fariz’s Motion for Leave to

  Bring a Cellular Telephone Into the Courtroom (Dkt. #1288), filed as an exception to the

  Local Rules of this Court. Upon review and consideration, it is

         ORDERED AND ADJUDGED that:

         1.     Said Motion is GRANTED.

         2.     Attorneys KEVIN BECK and/or M. ALLISON GUAGLIARDO shall be

  allowed to bring the following item(s)/equipment into Courtroom #13A for the duration of

  the trial scheduled in the above referenced case:

                A.       Cellular telephone.

         3.     Cell phones shall be kept in the “vibrate” or “silent” mode and may be used

  only outside the courtroom.
Case 8:03-cr-00077-CEH-LSG Document 1290 Filed 08/16/05 Page 2 of 2 PageID 11564




          4.      The attorney(s) authorized by this Order shall present a copy of this Order to

  security personnel each time that person enters the courthouse with such equipment. The

  equipment described above is subject to inspection at any time by courthouse security

  personnel.

          DONE and ORDERED in Tampa, Florida on August 16, 2005.




  COPIES FURNISHED TO:
  Counsel/Parties of Record
  Court Security Officer - Front Desk

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